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                                             THE CITY OF NEW YORK                                      Thais R. Ridgeway
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                                                                                   January 6, 2021

        BY ECF

        Honorable John P. Cronan
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007-1312

                              Re: J.M. et al., v. New York City Department of Education,
                                  20-CV-08797 (JPC)
        Dear Judge Cronan:

                        I am an Assistant Corporation Counsel in the Office of the Corporation Counsel
        assigned to represent the New York City Department of Education, in the above-referenced
        matter. I write in accordance with Your Honor’s Individual Rules of Practice § 3(B) to
        respectfully request to adjourn the Initial Conference currently scheduled January 21, 2021.

                       The additional time requested would allow the undersigned to review the billing
        statements in connection with the underlying action, request appropriate authority, and engage in
        settlement discussions with the goal of resolving the action without the Court’s intervention.

                        Bonnie Schinagle, Esq., counsel for Plaintiffs, consents to the proposed
        adjournment of the conference for 45 days (the week of March 8, 2021). The parties agree that a
        settlement conference scheduled in 45 days (in lieu of an initial pre-trial conference) may be
        beneficial in assisting the parties reach an amicable resolution. Lastly, the proposed adjournment
        does not effect any currently scheduled events in the action. To the extent the parties reach an
        agreement prior to the conference, the parties will promptly file a letter notifying Your Honor.
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             Thank you for your consideration of this request.

                                                               Respectfully submitted,

                                                                                 /s/

                                                               Thais R. Ridgeway
                                                               Assistant Corporation Counsel


CC:   BY ECF
      Bonnie Schinagle, Esq.
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                              The parties' request is GRANTED in part.

                              The Initial Pretrial Conference scheduled for January 21, 2021,
                              at 2:00 p.m. is hereby adjourned sine die.

                              By separate order, the Court will refer this case to the
                              Honorable Debra C. Freeman for a settlement conference. The
                              parties are ORDERED to file a joint status letter within two
                              weeks of the conclusion of the settlement conference.


                              SO ORDERED.
                              Date: January 7, 2021

                              New York, New York            ___________________________
                                                            JOHN P. CRONAN
                                                            United States District Judge




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